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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

      UNITED STATES OF AMERICA,

                Plaintiff,
                                                  Case No. 19-cr-20026
                   v.
                                          UNITED STATES DISTRICT COURT JUDGE
                                                  GERSHWIN A. DRAIN
         SANTOSH REDDY SAMA,

             Defendant (5).

 ____________________________/

      OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR
                COMPASSIONATE RELEASE [143, 147]

                                I. INTRODUCTION

       On January 15, 2019, Santosh Reddy Sama (“Defendant”) was indicted on

 one count of conspiracy to commit visa fraud and to harbor aliens for profit, 18

 U.S.C. § 371. ECF No. 1. Defendant entered a guilty plea to this count on May 15,

 2019. ECF No. 19. This Court sentenced Defendant to 24 months of imprisonment,

 which he began serving on September 10, 2019. ECF No. 118.

       Presently before the Court is Defendant’s letter seeking relief due to the

 current COVID-19 pandemic, ECF No. 143, which the Court construed as a Motion

 for Compassionate Release, ECF No. 144. Following this Court’s Order on May 29,

 2020, Defense counsel submitted a supplemental brief.      ECF No. 147.      The



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 Government filed a Response on July 13, 2020. ECF No. 148. Defendant filed his

 Reply on July 16, 2020. ECF No. 151.

       Upon review of the parties’ submissions, the Court concludes that oral

 argument will not aid in the disposition of this matter. Accordingly, the Court will

 resolve Defendant’s Motion for Compassionate Release on the briefs. See E.D.

 Mich. L.R. 7.1(f)(2).    For the reasons set forth below, the Court will DENY

 Defendant’s Motion for Compassionate Release [#143, 147].

                                  II. BACKGROUND

       From approximately February 2017 through January 2019, Defendant, along

 with his five co-defendants, assisted foreign citizens to illegally remain, re-enter,

 and work in the United States. ECF No. 1, PageID.1. He attended and personally

 recruited over 100 students to attend the University of Farmington, which was an

 undercover university run by U.S. Department of Homeland Security Agents. ECF

 No. 148, PageID.1162; see also PSR ¶ 27. Defendant received in excess of $160,000

 in profits for his and other associates’ efforts. Id. On May 15, 2019, Defendant

 entered a guilty plea to one count of conspiracy to commit visa fraud and harbor

 aliens for profit, in violation of 18 U.S.C. § 371. On September 12, 2019, the Court

 sentenced Defendant to a term of 24 months imprisonment. ECF No. 118.

       Defendant now moves the Court for compassionate release pursuant to 18

 U.S.C. § 3582(c)(1)(A) due to the threat of COVID-19. ECF Nos. 143, 147.


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 Defendant is twenty-nine years old and serving his sentence at the Moshannon

 Valley Correctional Center in Phillipsburg, Pennsylvania.1           ECF No. 147,

 PageID.1100. Defendant is set to be released to an ICE detainer on October 12,

 2020. Id.

       In his instant Motion, Defendant argues that “[i]n the midst of a resurgence of

 the Covid-19 pandemic, [he] suffers from diabetes, hyperlipidemia and hepatitis[.]”

 Id. at PageID.1098. Moreover, Defendant asserts that his presence in India is

 necessary to care for his wife, who had “life-saving surgery following a cardiac

 arrest, and a miscarriage[.]” Id. He seeks early release to an ICE detainer. Id.

                                   III. LAW & ANALYSIS

     A. Legal Standard

       Title 18 U.S.C. § 3582(c)(1)(A) governs this Court’s authority to consider

 motions for compassionate release. As amended by the First Step Act of 2018, the

 relevant statutory language provides that a court may grant compassionate release

 under the following circumstances:

       (A) the court, upon motion of the Director of the Bureau of Prisons, or
       upon motion of the defendant after the defendant has fully exhausted
       all administrative rights to appeal a failure of the Bureau of Prisons to
       bring a motion on the defendant's behalf or the lapse of 30 days from
       the receipt of such a request by the warden of the defendant's facility,

 1
   The Court takes notice that Moshannon Valley Correctional Center is operated by
 The GEO Group, Inc. The BOP thus does not list the number of positive cases or
 tests for this facility on its website.        See BOP: COVID-19 Update,
 https://www.bop.gov/coronavirus/ (last updated July 31, 2020).
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       whichever is earlier, may reduce the term of imprisonment (and may
       impose a term of probation or supervised release with or without
       conditions that does not exceed the unserved portion of the original
       term of imprisonment), after considering the factors set forth in section
       3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a reduction.

 18 U.S.C. § 3582(c)(1)(A)(i). Accordingly, a court must address two key questions.

 The first is whether a defendant has exhausted all administrative remedies with the

 BOP. The second is whether, after considering “extraordinary and compelling

 reasons,” as well as the sentencing factors set forth in 18 U.S.C. § 3553(a), there are

 sufficient grounds to warrant a sentence reduction.

       Moreover, a sentence reduction must be “consistent with applicable policy

 statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). U.S.

 Sentencing Guidelines Manual § 1B1.13 is the “applicable policy statement” which

 this Court must comply with. This section explains that a defendant must “not [be]

 a danger to the safety of any other person or to the community” under 18 U.S.C.

 § 3142(g). Further, a defendant must fit within at least one of four categories of

 “extraordinary and compelling reasons.” Application Note 1 to U.S.S.G. § 1B1.13

 provides, in relevant parts, when extraordinary and compelling reasons exist:

              (A) Medical Condition of the Defendant. –

                    (ii) The defendant is (I) suffering from a serious physical
              or medical condition, (II) suffering from a serious functional or
              cognitive impairment, or (III) experiencing deteriorating

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             physical or mental health because of the aging process, that
             substantially diminishes the ability of the defendant to provide
             self-care within the environment of a correctional facility and
             from which he or she is not expected to recover.

             …

             (C) Family Circumstances –

                    (ii) The incapacitation of the defendant’s spouse or
             registered partner when the defendant would be the only
             available caregiver for the spouse or registered partner.

       Here, Defendant asserts that his preexistent medical conditions, in tandem

 with his ailing wife in India as well as his continued incarceration during the

 COVID-19 pandemic, warrant his immediate compassionate release. Defendant

 thus argues that these circumstances are “extraordinary and compelling” pursuant to

 U.S.S.G. § 1B1.13.      ECF No. 147, PageID.1104; see also ECF No. 151,

 PageID.1231–32. Moreover, Defendant asserts that he is not a danger to the

 community and that the 18 U.S.C. § 3553(a) factors favor his release. ECF No. 151,

 PageID.1232–35.

    B. Analysis

       1. Exhaustion

       The First Step Act of 2018 amended 18 U.S.C. § 3582 to permit defendants

 to move for compassionate release themselves. First Step Act § 603(b), Pub. L. No.

 115-319, 132 Stat. 5194, 5239 (Dec. 21, 2018). In a defendant-initiated motion for

 compassionate release, the district court may not act on the motion unless the
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 defendant files it “after” either completing the administrative process within the

 BOP or waiting thirty days from when the warden at the facility received his or her

 request. 18 U.S.C. § 3582(c)(1)(A).

       Here, the Government argues that Defendant failed to comply with

 § 3582(c)(1)(A)’s mandatory exhaustion requirement because his initial request to

 the warden omitted information relative to the pandemic.            ECF No. 148,

 PageID.1170. The Court disagrees. Defendant’s request for release was exhausted

 properly under the circumstances presented here.

       Another court in this District has recognized that federal courts confronted

 with the argument raised by the Government here have been generally skeptical of

 the notion that § 3582(c)(1)(A) imposes any requirement of “issue exhaustion” on

 requests for compassionate release, “or that a prisoner explicitly must mention the

 pandemic as a basis of his administrative request, or else submit and exhaust a fresh

 request on that ground — and wait yet another 30 days — before seeking judicial

 review.” United States v. Williams, No. 15-20462, 2020 WL 4040706, at *2 (E.D.

 Mich. July 17, 2020) (citing United States v. Garner, No. 14-13, 2020 WL 3632482,

 *3 & n.2 (S.D. Tex. July 3, 2020); Miller v. United States, No. 16-20222, 2020 WL

 1814084, at *2 (E.D. Mich. Apr. 9, 2020)) (internal quotations omitted).

       Here, the statutory ground for Defendant’s request has not changed from when

 he first requested relief at Moshannon Valley Correctional Center to his present


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 Motion. Defendant seeks release relief based on “extraordinary and compelling

 circumstances,” under the authority of 18 U.S.C. § 3582(c)(1)(A)(i), just as he did

 at the administrative level.

       Defendant first filed an administrative request for compassionate release on

 April 15, 2020. ECF No. 147-5, PageID.1160. In this letter, Defendant mentions

 his wife’s and mother’s medical conditions. He also explains the urgency of his

 request, “[r]ight now India is in complete lockdown, it’s very hard for them for

 survival due to the coronavirus pandemic.” Id. at PageID.1161 (emphasis added).

 On April 28, 2020, the warden responded to Defendant’s letter, requesting more

 information concerning the alleged extraordinary or compelling circumstances. Id.

 at PageID.1159.     Defendant replied to this request, again citing to his wife’s

 deteriorating medical condition, her requirement for surgery, his mother’s inability

 to care for her, and the ongoing coronavirus pandemic. Id. at PageID.1158; see also

 ECF No. 151, PageID.1231. In his present Motion, Defendant explains that he seeks

 compassionate release “principally because of his young wife’s failing health

 following a miscarriage procedure.” ECF No. 147, PageID.1101. He also cites to

 his own medical conditions, which the Court will address in the next section. See

 id. Even with the addition of his medical conditions, “the underlying authority and

 ground for the relief sought has not changed, and it would be inappropriate under

 the circumstances to impose any further exhaustion requirement, which in any event


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 is not mandated in any plain terms of the statute.” Williams, 2020 WL 4040706, at

 *2 (citation omitted); see also United States v. Brown, No. 4:05-CR-00227-1, 2020

 WL 2091802, at *4 (S.D. Iowa Apr. 29, 2020) (“[I]ssue exhaustion is inappropriate

 because § 3582 contains no such requirement and BOP compassionate release

 requests are not adversarial proceedings.”).

       Defendant sufficiently presented his request for release to prison authorities

 at his facility. Accordingly, Defendant has exhausted his administrative remedies.

 He thus satisfies the Court’s first key question in its analysis.

       2. Extraordinary and Compelling Reasons

       As explained above, in order for a court to grant compassionate release, a

 defendant must demonstrate that “extraordinary and compelling reasons” exist to

 warrant a reduction in sentence. 18 U.S.C. § 3582(c). The Sentencing Commission

 has provided guidance about what constitutes “extraordinary and compelling

 reasons” in Section 1B1.13 of the Sentencing Guidelines. U.S.S.G. § 1B1.13. These

 reasons are classified in four categories: (1) the defendant’s medical condition; (2)

 the defendant’s age; (3) family circumstances; and (4) additional reasons “other than,

 or in combination with” the first three elements. Id. at cmt. n.1(A)-(D).

       Here, Defendant explains that he suffers from diabetes, hyperlipidemia, and

 hepatitis. ECF No. 147, PageID.1101; see also ECF No. 147-3, PageID.1114, 1123–




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 24. In a separate letter, Defendant asserts that he takes medication for his diabetes;

 kidney; and high blood cholesterol. ECF No. 147-3, PageID.1114.

       The Court does not diminish Defendant’s concern for his underlying medical

 conditions. However, the Court finds that Defendant has not demonstrated that

 “extraordinary and compelling reasons” exist to warrant his release from Moshannon

 Valley Correctional Center. According to the Centers for Disease Control and

 Prevention (“CDC”), the only relevant condition that places Defendant at a higher

 risk for severe illness from COVID-19 is his newly diagnosed diabetes.2 People

 Who Are at Higher Risk for Severe Illness, Centers for Disease Control and

 Prevention, https://www.cdc.gov/coronavirus/2019-ncov/need-extraprecautions/

 people-at-increased-risk.html (last updated July 17, 2020).

       Defendant’s diabetes by itself is not sufficient to warrant early release under

 the compassionate release standard. Defendant is also thirty-six years younger than

 the CDC’s classification of adults sixty-five years and older who are at higher risk

 of COVID-19 complications. Other district courts have granted compassionate

 release only upon a finding of numerous and severe medical conditions that place

 them at a significantly higher risk for severe illness from COVID-19. See, e.g.,



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  The Court takes notice that Defendant denied any medical conditions at the time
 his Probation Officer prepared his PSR in August 2019. PSR ¶ 54. His recent
 medical records indicate the change in his medical conditions, including diabetes
 and hyperlipidemia diagnoses. See, e.g., ECF No. 147-3, PageID.1123.
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  United States v. Doshi, No. 13-CR-20349, 2020 WL 2556794 (E.D. Mich. May 20,

  2020) (granting compassionate release for an elderly inmate with hypertension,

  diabetes, asthma, hyperlipidemia, and other preexisting conditions); Miller v. United

  States, No. CR 16-20222-1, 2020 WL 1814084, at *1 (E.D. Mich. Apr. 9, 2020)

  (“The CDC also states that individuals with underlying medical conditions, such as

  a chronic lung disease, a serious heart condition, and liver disease, have a higher risk

  of severe illness ... Miller suffers from all three.”).

         The Court takes notice of Defendant’s argument that he seeks compassionate

  release “principally because of his young wife’s failing health following a

  miscarriage procedure.” ECF No. 147, PageID.1101. In his Reply, Defendant also

  explains that he must care for his ailing mother. ECF No. 151, PageID.1233.

  Defendant’s wife, Mounika Sama, is twenty-six years old and resides in India. ECF

  No. 147, PageID.1101. According to Defendant, she suffered a cardiac arrest and

  experienced a miscarriage; she thus requires a hysterectomy and septum resection.

  Id. He asserts that his approval and consent are necessary in India for Ms. Sama to

  receive the necessary medical treatment. Id. In a letter to this Court, Ms. Sama

  corroborates Defendant’s assertion, writing, in block letters, that her health condition

  can only be treated with her husband’s permission. ECF No. 147-4, PageID.1129.

  She further explains that Defendant’s incarceration thus “puts both [herself and




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  Defendant] in high stress[.]” Id. Ms. Sama also attached her medical records to this

  letter. See generally id.

        The Government argues that neither Ms. Sama’s nor Defendant’s mother’s

  conditions are extraordinary or compelling.      ECF No. 148, PageID.1172.        It

  emphasizes that the Court was made aware of their medical conditions at the time of

  sentencing. Id. This Court agrees and finds that Defendant has not established that

  his family circumstances warrant release. The fact that Defendant’s wife and mother

  suffer from medical hardships, while unfortunate, does not in and of itself create a

  compelling reason to release Defendant. See United States v. Wilson, No. 15-20281,

  2020 WL 3172647, at *3 (E.D. Mich. June 15, 2020). Moreover, this Court was

  made aware of Ms. Sama’s and Defendant’s mother’s medical conditions at the time

  of sentencing. Indeed, Defendant’s PSR indicates that Ms. Sama “is not functioning

  well as she has been diagnosed with a heart disorder. The defendant reported that

  his wife is in need of heart surgery which cannot be performed, due to his custodial

  status, as he is required to give consent.” PSR ¶ 51. Defendant also informed his

  Probation Officer “I am requesting to be back with my wife and mother so that I can

  take care of them.” PSR ¶ 52. Furthermore, Defendant attached Ms. Sama’s and his

  mother’s medical records to his Sentencing Memorandum. See ECF Nos. 109-2,

  109-4. While the Court empathizes with Defendant’s family’s difficult situation,




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  Defendant has failed to establish that these circumstances are extraordinary and

  compelling for this Court to grant him his requested relief.

        In sum, upon consideration of precedent for granting compassionate release

  and the particular facts of his case, Defendant has not presented extraordinary and

  compelling circumstances, either from his own or his family’s medical conditions,

  that warrant his early release.

        3. Determination of Dangerousness to the Community and the 18 U.S.C.
           § 3553(a) Factors

        As a final matter, a district court must determine that the defendant does not

  present a danger to the community, as provided in 18 U.S.C. § 3142(g). See U.S.S.G.

  § 1B1.13. Additionally, the court must also consider the sentencing factors under

  18 U.S.C. § 3553(a) and determine whether such factors support or undermine the

  sentence reduction. See id.

        Here, the Government argues that Defendant is ineligible for compassionate

  release because he is a danger to the community. ECF No. 148, PageID.1173. It

  highlights the strain of limited resources which society’s first responders are

  currently operating within during the COVID-19 pandemic. Id. at PageID.1173–74.

  However, Defendant correctly points out that he does not wish to seek reentry into

  the community; rather, Defendant seeks release to the ICE detainer that has been

  lodged and filed with the immigration authorities. ECF No. 151, PageID.1232–33.



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  Indeed, Defendant seeks a relief which would expedite his deportation process so he

  could return to India. Id. at PageID.1233.

        Nevertheless, the Court concludes a non-violent offender like Defendant, who

  was involved in a significant, multi-year conspiracy scheme which abused this

  country’s student visa program, may qualify as a danger and thus forecloses relief

  requesting early release. The Court emphasizes that among his codefendants,

  Defendant was given the most significant sentence. The Court did not and continues

  to not treat Defendant’s conduct lightly.

        The Court also agrees with the Government that consideration of the factors

  set forth in 18 U.S.C. § 3553(a) do not weigh in favor of granting the requested relief.

  The factors set forth in § 3553(a) include a defendant’s history and characteristics;

  the nature and circumstances of the offense; due consideration of the seriousness of

  the offenses; promoting respect for the law; providing just punishment; affording

  adequate deterrence; protecting the public from further crimes by the defendant; and

  providing him or her with any necessary correctional services and treatment. See 18

  U.S.C. § 3553(a).

        Here, Defendant was convicted of a serious conspiracy offense to defraud the

  United States—conspiracy to commit visa fraud and harbor aliens for profit—as

  indicated by Congress’ decision to authorize up to five years in prison for the

  offense. See 18 U.S.C. § 371. He was an organizer and lead recruiter of the


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  underlying fraud scheme. In exchange for enlisting other students as part of this

  ongoing scheme, Defendant received more than $160,000 in profits and tuition

  credits. ECF No. 148, PageID.1175. This Court accordingly sentenced Defendant

  to the most months imprisonment amongst his co-defendants. Specifically, this

  Court imposed a sentence of 24 months, which represented a 13-month downward

  variance from the Guideline range. ECF No. 118.

        At the time of sentencing, this Court was especially concerned with affording

  adequate deterrence. Defendant’s 24-month sentence continues to serve as a strong

  deterrent for other foreign students from abusing the F-1 student visa program. In

  sum, the Court finds that granting Defendant compassionate release at this juncture

  would inappropriately minimize the serious nature of his decision to conspire to

  harbor foreign citizens and commit visa fraud.

        Accordingly, the § 3553(a) sentencing factors also weigh against Defendant’s

  early release.

                                   V. CONCLUSION

        For the reasons articulated above, the Court DENIES Defendant’s Motion

  for Compassionate Release [#143, 147].




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        IT IS SO ORDERED.


  Dated: August 4, 2020


                                                   /s/Gershwin A. Drain
                                                   GERSHWIN A. DRAIN
                                                   United States District Judge


                            CERTIFICATE OF SERVICE
   Copies of this Order were served upon attorneys of record and on Santosh Reddy
   Sama, No. 57218-039, Moshannon Valley Correctional Facility, 555 Geo Drive,
                         Philipsburg, Pennsylvania, 16866 on
                  August 4, 2020, by electronic and/or ordinary mail.
                                 /s/ Teresa McGovern
                                     Case Manager




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